[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
The motion to dismiss dated March 4, 1997 is denied.
The Court finds there was probable cause to arrest the defendant for interfering with peace officers William Proulx and James O'Connor. On September 27, 1996 these officers while acting within the scope of their authority as police officers for the City of East Hartford, were dispatched to tag unregistered and/or abandoned motor vehicles on premises located at 59 Church Street. Shortly after the officers arrived the defendant swore at both officers and told Ruth, the owner of the property, to get his pit bull so that it could rip up the officers. The defendant approached the police officers with the pit bull who was barking and the defendant threatened to loose the dog on them. Defendant returned to the house and a few minutes later came out and again threatened the officers with the pit bull. The defendant was placed under arrest and while placing him under arrest he became violent. It is alleged he punched Officer Proulx and kicked the police dog Bruno numerous times. After a prolonged struggle with the officers the defendant was handcuffed. The right ring finger of Officer Proulx was injured while attempting to handcuff the defendant and defendant refused to obey orders of the police officers to put his hands behind his back so that he could be handcuffed.
Clearly, there was a sufficiency of probable cause to justify the bringing of the information and placing the defendant on CT Page 5680 trial. All other claims in defendant's motion to dismiss dated March 4, 1997 are denied.
Owens, J.